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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                             CRIMINAL ACTION

VERSUS                                               NO. 08-140

RENEE GILL PRATT                                     SECTION "B"(1)


                           ORDER AND REASONS

     Before the Court is Defendant Renee Gill Pratt’s Motion to

Continue Re-Trial (Rec. Doc. No. 654), the Government’s Opposition

(Rec. Doc. No. 658), and Defendant’s Reply (Rec. Doc. No. 660).

For the following reasons,

     IT IS ORDERED that the motion is DENIED.

     Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(e), “[i]f

the defendant is to be tried again following a declaration by the

trial judge of a mistrial...the trial shall commence within seventy

days from the date the action occasioning the retrial becomes

final.”   On March 29, 2011, this Court denied Defendant’s Motion

for Acquittal.     Rec. Doc. No. 651.     Therefore, under 18 U.S.C. §

3161(e), re-trial of this case is required to commence within 70

days from that date, which is no later than June 7, 2011.

     However, during the Court’s teleconference with the parties on

March 31, 2011, the Court determined that the ends of justice

served by setting the trial date for July 11, 2011 outweighed both

the best interest of the public and the defendant in a speedy
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trial.   The Speedy Trial Act provides the factors for a district

court to consider in making such determination; namely:

     (B) The factors, among others, which a judge shall
     consider in determining whether to grant a continuance
     under subparagraph (A) of this paragraph in any case are
     as follows:
     (i) Whether the failure to grant such a continuance in
     the proceeding would be likely to make a continuation of
     such proceeding impossible, or result in a miscarriage of
     justice.
     (ii) Whether the case is so unusual or so complex, due to
     the number of defendants, the nature of the prosecution,
     or the existence of novel questions of fact or law, that
     it is unreasonable to expect adequate preparation for
     pretrial proceedings or for the trial itself within the
     time limits established by this section.
     (iii) Whether, in a case in which arrest precedes
     indictment, delay in the filing of the indictment is
     caused because the arrest occurs at a time such that it
     is unreasonable to expect return and filing of the
     indictment within the period specified in section
     3161(b), or because the facts upon which the grand jury
     must base its determination are unusual or complex.
     (iv) Whether the failure to grant such a continuance in
     a case which, taken as a whole, is not so unusual or so
     complex as to fall within clause (ii), would deny the
     defendant reasonable time to obtain counsel, would
     unreasonably deny the defendant or the Government
     continuity of counsel, or would deny counsel for the
     defendant or the attorney for the Government the
     reasonable time necessary for effective preparation,
     taking into account the exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B).       In accordance with the United States

Fifth Circuit Court of Appeals’ recent decision in United States v.

Burrell, 634 F.3d 284 (5th Cir. 2011), this Court recognized the

following relevant factors in its decision to set the retrial of



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this case for July 11, 2011.          A main consideration by the Court

here was the continuity of defense counsel due to several personal

and professional pre-commitments.          The Court took into account the

dates provided by defense counsel for previously planned vacations

as well as his professional obligations in two civil matters.

Noting that this complex, criminal case takes precedence over those

civil matters and based on the parties’ estimation that the retrial

would last about 14 days, the Court set a trial date that would

allow nearly three full weeks of trial before defense counsel’s

July 29 vacation trip.       The Court additionally considered defense

counsel’s stated intent to depose co-defendant Mose Jefferson and

the availability of both Jefferson and his attorney in setting the

date for retrial beyond the date mandated by the Speedy Trial Act,

as   Jefferson    is   currently    incarcerated,     terminally     ill,       and

undergoing chemotherapy at the Federal Bureau of Prison’s hospital

facility in Butner, North Carolina.          The Court also reasoned that

the ends of justice would be further served by postponement of the

retrial date due to the complexity of the issues involved in this

criminal RICO conspiracy.

       However, after a similar analysis under the Speedy Trial Act,

the Court finds that the defendant has provided no persuasive

reason to continue the date for retrial of this case beyond the

currently set date of July 11, 2011.              As set forth above, in

considering defense counsel’s prior personal and professional


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commitments, this Court determined that a July 11, 2011 trial date

would allow trial to proceed with defense counsel present, and

therefore such date would not make proceeding with the matter

impossible nor result in a miscarriage of justice.              As the Court

determined that the July 11, 2011 trial date would allow for

defense counsel to represent the defendant in her retrial and

maintain his pre-planned travel arrangement and further that the

date provides adequate time for defense counsel to address his

noted pretrial preparation issues, the remainder of Defendant’s

reasons in support of her motion to continue are irrelevant and

insufficient to justify continuing the retrial beyond its current

date of July 11, 2011.

     Accordingly, Defendant’s Motion to Continue (Rec. Doc. No.

654) is DENIED.

     New Orleans, Louisiana, this 13th day of April, 2011.



                                    ________________________________
                                      UNITED STATES DISTRICT JUDGE




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